






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00610-CR







Maurice A. Lomas, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 27TH JUDICIAL DISTRICT


NO. 59109, HONORABLE JOE CARROLL, JUDGE PRESIDING






M E M O R A N D U M    O P I N I O N



A jury found appellant Maurice A. Lomas guilty of failing to register as a sex
offender.  See Tex. Code Crim. Proc. Ann. art. 62.102 (West 2006) (former art. 62.10).  The court
assessed punishment, enhanced by two previous felony offenses, at ninety-nine years' imprisonment.

Appellant's court-appointed attorney filed a brief concluding that the appeal is
frivolous and without merit.  The brief meets the requirements of Anders v. California, 386 U.S. 738
(1967), by presenting a professional evaluation of the record demonstrating why there are no
arguable grounds to be advanced.  See also Penson v. Ohio, 488 U.S. 75 (1988); High v. State,
573&nbsp;S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State, 516  S.W.2d 684 (Tex. Crim. App. 1974);
Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972); Gainous v. State, 436 S.W.2d 137
(Tex.&nbsp;Crim. App. 1969).  Appellant also filed a pro se brief.

We have reviewed the record, counsel's brief, and the pro se brief.  We find nothing
in the record that might arguably support the appeal.  See Bledsoe v. State, 178 S.W.3d 824, 826-27
(Tex. Crim. App. 2005).

The judgment of conviction is affirmed.


				__________________________________________

				David Puryear, Justice

Before Chief Justice Law, Justices Puryear and Henson

Affirmed

Filed:   July 12, 2007

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